397 F.3d 1235
    Jeffrey Timothy LANDRIGAN, a.k.a. Billy Patrick Wayne Hill, Petitioner-Appellant,v.Terry L. STEWART, Director, Arizona Department of Corrections; Dora B. Schriro, Director, Director of Arizona, Department of Corrections, Respondents-Appellees.
    No. 00-99011.
    United States Court of Appeals, Ninth Circuit.
    February 14, 2005.
    
      Dale A. Baich, Federal Public Defenders Office, Phoenix, AZ, for Petitioner-Appellant.
      Kent E. Cattani, Office of the Attorney General Civil Division, Phoenix, AZ, for Respondent-Appellee.
      Before SCHROEDER, Chief Judge.
      ORDER
      SCHROEDER, Chief Judge.
    
    
      1
      Upon the vote of a majority of nonrecused regular active judges of this court,1 it is ordered that this case be reheard by the en banc court pursuant to Circuit Rule 35-3. The three-judge panel opinion shall not be cited as precedent by or to this court or any district court of the Ninth Circuit, except to the extent adopted by the en banc court.
    
    
      
        Notes:
      
      
        1
         Judge Silverman was recused
      
    
    